Case 2:03-cv-02804-.]PI\/|-STA Document 37 Filed 08/19/05 Page 1 of 2 Page|D 52

F'LED BY nga D.c.
IN THE UNITED STATES DISTRICT COURT

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wEsTERN nrv:s::oN

 

 

INTERMODAL CARTAGE, CO.,
Plaintiff,
No. 03-2804 Ml/An

'V'¢

NATUZZI AMERICAS, INC.,

v"`-IVVV`J`I`-I

Defendant.

 

ORDER TO FILE TRIAL TR.ANSCRIPT

 

The Court has determined that the filing of the trial
transcript in this case is necessary to conclude its opinion in
this case. Accordingly, the parties are hereby ORDERED to request
and file with the Court a copy of the trial transcript in this case
within fourteen (14) days of the date of entry of this order.1 The
parties shall share the costs of the transcript equally.

So ORDERED this lg/day of August, 2005.

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JO P. MCCALLA
I'I'ED STA'I'ES DIS'I'RICT JUDGE

 

 

1 A copy of the trial transcript in this case may be ordered by
contacting Court Reporter Brenda Parker at (901) 526-8769.

Th|s document entered on the docket heetln comp!!ance 3 7
WJth Rule 58 and/or 79(3) FHCP on 8 "'/ ?"U 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CV-02804 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

